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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:15-CR-204-TLN
12                                 Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                          TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                           v.                           FINDINGS AND ORDER
14   JEFFREY S. GRADY,                                    DATE: August 17, 2017
                                                          TIME: 9:30 a.m.
15                                 Defendant.             COURT: Hon. Troy L. Nunley
16

17                                                STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.       By previous order, this matter was set for status on August 17, 2017.

21          2.       By this stipulation, the parties now move to continue the status conference until

22 September 21, 2017, at 9:30 a.m., and to exclude time between August 17, 2017, and September 21,

23 2017, under Local Code T4.

24          3.       The parties agree and stipulate, and request that the Court find the following:

25                   a)     The discovery in this case includes more than 2,000 pages of reports and

26          documents, including a spreadsheet which contain thousands of entries. The spreadsheet, which

27          was recently created by the IRS, contains information that is relevant to the parties’ calculation

28          of potential losses and relevant conduct. All of this discovery has been either produced directly


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 1          to counsel and/or made available for inspection and copying.

 2                   b)     Counsel for defendant desires additional time to review the evidence and discuss

 3          potential resolution of the case with the defendant.

 4                   c)     Counsel for defendant believes that failure to grant the above-requested

 5          continuance would deny him/her the reasonable time necessary for effective preparation, taking

 6          into account the exercise of due diligence.

 7                   d)     The government does not object to the continuance.

 8                   e)     Based on the above-stated findings, the ends of justice served by continuing the

 9          case as requested outweigh the interest of the public and the defendant in a trial within the

10          original date prescribed by the Speedy Trial Act.

11                   f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

12          et seq., within which trial must commence, the time period of August 17, 2017 to September 21,

13          2017, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

14          T4] because it results from a continuance granted by the Court at defendant’s request on the basis

15          of the Court’s finding that the ends of justice served by taking such action outweigh the best

16          interest of the public and the defendant in a speedy trial.

17          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

18 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

19 must commence.

20          IT IS SO STIPULATED.

21

22
     Dated: August 15, 2017                                    PHILLIP A. TALBERT
23                                                             United States Attorney
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                                                               /s/ MATTHEW G. MORRIS
25                                                             MATTHEW G. MORRIS
                                                               Assistant United States Attorney
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      PERIODS UNDER SPEEDY TRIAL ACT
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     Dated: August 15, 2017                          /s/ GREG FOSTER
 1                                                   GREG FOSTER
                                                     Counsel for Defendant
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                                                     JEFFREY S. GRADY
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 6                                       FINDINGS AND ORDER

 7         IT IS SO FOUND AND ORDERED this 15th day of August, 2017.

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11                                                       Troy L. Nunley
                                                         United States District Judge
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      STIPULATION REGARDING EXCLUDABLE TIME      3
      PERIODS UNDER SPEEDY TRIAL ACT
